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                                 WITNESS AND EXHIBIT LIST

                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
 Main Case No: 23-645                  In re Professional Fee Matters Concerning the
                                       Jackson Walker Law Firm
 Adversary No: N/A                     Style of Adversary: N/A

 Witnesses:
  1. Brian Henault, Supervisory Auditor or           Judge: The Honorable Eduardo V. Rodriguez
     Other Designated Representative of the
     U.S. Trustee
 Any witness called or designated by any other       Courtroom Deputy: Ana Castro
 party
 Any witness necessary to rebut testimony of a       Hearing Date: October 8, 2024
 witness called or designated by any other
 party
                                                     Hearing Time: 4:00 p.m.
                                                     Party’s Name: Kevin Epstein, U.S. Trustee
                                                     Attorney’s Names: Laura D. Steele, Joel
                                                     Charboneau, Vianey Garza
                                                     Attorney’s Phone: 202-322-7086
                                                     Nature of Proceeding: Hearing on (1) United
                                                     States Trustee’s Expedited Motion to Quash
                                                     Subpoenas [ECF No. 350]; (2) United States
                                                     Trustee’s Notice of Subpoena to Elizabeth
                                                     Miller [ECF No. 363]

                                          EXHIBITS

                                                                           Admitted/
Ex.
                   Description                   Offered      Objection      Not        Disposition
 #
                                                                           Admitted
1     United States Trustee’s Motion for
      Relief from Judgment or Order
      pursuant to Federal Rule of Civil
      Procedure 60(b)(6) and Federal Rule of
      Bankruptcy Procedure 9024 Approving
      any Jackson Walker Applications for
      Compensation and Reimbursement of
      Expenses filed in In re Neiman Marcus
      Group Ltd LLC, et al., Case No.
      20-32519, ECF No. 3178



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                                                                     Admitted/
Ex.
                   Description                 Offered   Objection     Not       Disposition
 #
                                                                     Admitted
2     Preliminary Response of Jackson
      Walker LLP to Recent Filings by the
      Office of the United States Trustee
      filed in In re Neiman Marcus Group
      Ltd LLC, et al., Case No. 20-32519,
      ECF No. 3184
3     United States Trustee’s Amended and
      Supplemental Motion for (1) Relief
      from Judgment pursuant to Federal
      Rule of Civil Procedure 60(b)(6) and
      Federal Rule of Bankruptcy Procedure
      9024 Approving the Retention and
      Compensation Applications of Jackson
      Walker, LLP, (2) Sanctions, and (3)
      Related Relief filed in In re Neiman
      Marcus Group Ltd LLC, et al., Case
      No. 20-32519, ECF No. 3224
4     Jackson Walker LLP’s Response in
      Opposition to the United States
      Trustee’s Amended and Supplemental
      Motion for (1) Relief from Judgment
      pursuant to Federal Rule of Civil
      Procedure 60(b)(6) and Federal Rule of
      Bankruptcy Procedure 9024 Approving
      the Retention and Compensation
      Applications of Jackson Walker, LLP,
      (2) Sanctions, and (3) Related Relief
      filed in In re Neiman Marcus Group
      Ltd LLC, et al., Case No. 20-32519,
      ECF No. 3234
5     Email from Laura D. Steele to Counsel
      for Jackson Walker Dated August 21,
      2024
6     A - Subpoena issued to Kevin Epstein
      B - Subpoena issued Millie Sall
      C - Subpoena to Hector Duran
      D - Subpoena to Henry Hobbs




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Ex.
                    Description                Offered   Objection     Not       Disposition
 #
                                                                     Admitted
7     A - United States Trustee’s Objections
         to Jackson Walker’s Subpoena
         Duces Tecum to Him dated
         September 17, 2024
      B - United States Trustee’s Objections
          to Jackson Walker’s Subpoena
          Duces Tecum to Millie Sall dated
          September 17, 2024
      C - United States Trustee’s Objections
          to Jackson Walker’s Subpoena
          Duces Tecum to Hector Duran
          dated September 17, 2024
8     Jackson Walker’s Notice of Deposition
      for United States Trustee (Region 7)
      pursuant to Fed. R. Civ. P. 30(b)(6)
      dated September 25, 2024
9     Subpoena issued to Steve Statham on
      September 27, 2024
10    Jackson Walker’s First Set of
      Interrogatories to the U.S. Trustee
      dated May 15, 2024
11    Order related to Jackson Walker LLP’s
      Expedited Motion to Compel
      Production of Documents and
      Responses to Interrogatories from the
      U.S. Trustee, ECF No. 305
12    United States Trustee’s Supplemental
      Responses to Jackson Walker’s First
      Set of Interrogatories to the U.S.
      Trustee dated September 3, 2024
13    Jackson Walker’s Second Set of
      Interrogatories to the U.S. Trustee
      dated September 30, 2024
14    Jackson Walker’s First Requests for
      Production of Documents to the U.S.
      Trustee dated May 15, 2024
15    Excerpts from Transcript of Hearing
      held on August 7, 2024 before Chief
      Judge Eduardo V. Rodriguez

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Ex.
                   Description                 Offered   Objection     Not       Disposition
 #
                                                                     Admitted
16    Excerpts from Depositions of Elizabeth
      Freeman conducted on July 30, 2024
      (To Be Filed Under Seal)
17    Excerpts Deposition of David R. Jones
      conducted on September 16, 2024 (To
      Be Filed Under Seal)
18    A - Excerpt from Text Message String
         between Veronica Polnick and
         Matthew Cavenaugh sent on March
         6, 2021 (To Be Filed Under Seal)
      B - Excerpt from Text Message string
          between Veronica Polnick and
          Elizabeth Freeman sent on March
          6, 2021 (To Be Filed Under Seal)
      C - Excerpt from Text Message String
          between Veronica Polnick and
          Matthew Cavenaugh sent between
          March 7 and March 8, 2021 (To Be
          Filed Under Seal)
      D – Excerpt from Text Message String
         between Veronica Polnick and
         Matthew Cavenaugh sent between
         March 10 and March 11, 2021 (To
         Be Filed Under Seal)
      E – Excerpt from Text Message String
         between Veronica Polnick and
         Elizabeth Freeman sent between
         April 14 and April 15, 2021 (To Be
         Filed Under Seal)
      F – Excerpt from Text Message String
         between Veronica Polnick and
         Elizabeth Freeman sent between
         May 4 and May 5, 2021 (To Be
         Filed Under Seal)
      G - Excerpt from Text Message string
         between Veronica Polnick, and
         Albert Alonzo sent on May 13,
         2021 (To Be Filed Under Seal)



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Ex.
                    Description                 Offered   Objection      Not         Disposition
 #
                                                                       Admitted
      H – Excerpt from Text Message String
         between Veronica Polnick and
         Genevieve Graham sent on
         November 24, 2021 (To Be Filed
         Under Seal)
19    United States Trustee’s Notice of
      Subpoena to Elizabeth Miller
20    Proof of Service of Subpoena to
      Elizabeth Miller
21    USPS Tracking for certified mailing
      9414711206205832589528
22    Text Message string between Veronica
      Polnick, and Albert Alonzo sent
      between March 7, and March 8, 2021
      (To Be Filed Under Seal)
      Any document, pleading, exhibits,
      transcripts, orders, or other documents
      filed in the above captioned case
      All exhibits presented or designated by
      any other party in interest for the
      hearing
      All impeachment and/or rebuttal
      exhibits

        The U.S. Trustee reserves the right to supplement or amend this Witness and Exhibit List

at any time prior to the Hearing.

Date: October 4, 2024                           Respectfully Submitted,

                                                KEVIN M. EPSTEIN
                                                UNITED STATES TRUSTEE
                                                REGION 7, SOUTHERN AND WESTERN
                                                DISTRICTS OF TEXAS

                                                By: /s/ Vianey Garza
                                                   Millie Aponte Sall, Assistant U.S. Trustee
                                                   Tex. Bar No. 01278050/Fed. ID No. 11271
                                                   Vianey Garza, Trial Attorney

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                                                    Tex. Bar No. 24083057/Fed. ID No. 1812278
                                                    Alicia L. Barcomb, Trial Attorney
                                                    Tex. Bar No. 24106276/Fed. ID No. 3456397
                                                    515 Rusk, Suite 3516
                                                    Houston, Texas 77002
                                                    (713) 718-4650 – Telephone
                                                    (713) 718-4670 – Fax
                                                    Email: millie.sall@usdoj.gov
                                                            vianey.garza@usdoj.gov
                                                            alicia.barcomb@usdoj.gov


                               CERTIFICATE OF SERVICE

        I hereby certify that on October 4, 2024 a copy of the foregoing U.S. Trustee’s Witness
and Exhibit List for Hearing Scheduled on October 8, 2024 was served on the parties entitled to
notice through the Court’s ECF system.

                                                By: /s/ Vianey Garza
                                                   Vianey Garza




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